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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                   )
                                            )                CASE NO. 4:08CR3009
                     Plaintiff,             )
                                            )
v.                                          )                      ORDER
                                            )
JOHN BROWN,                                 )
                                            )
                     Defendant,             )

        THIS MATTER comes come before the Court upon Defendant’s Unopposed Motion

to Continue Supervised Release Hearing (filing 260) for approximately 90 days. Being fully

advised in the premises, and noting that the government has no objection, this Court finds

that said Motion should be granted.

        IT IS THEREFORE ORDERED that Defendant’s supervised release hearing is

hereby continued to May 22, 2012, at 12:30 p.m. Mr. Brown is ordered to appear at said

time.

        DATED this 21st day of February, 2012.

                                          BY THE COURT:

                                          Richard G. Kopf
                                          The Honorable Richard G. Kopf
                                          Senior United States District Judge
